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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

RAO S. MANDALAPU, M.D.

Plaintiff, : CIVIL ACTION

v. : CASE NO. 2:15-cev-05977-JP

TEMPLE UNIVERSITY HOSPITAL, INC.,
et. al.

Defendants.

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO QUASH
Defendants Temple University Hospital, Inc. (“TUH”), Dr. Jack H. Mydlo (“Dr.
Mydlo”), Dr. Robert Guy Uzzo (“Dr. Uzzo”), Dr. Richard E. Greenberg (“Dr. Greenberg”), Dr.
David Y.T. Chen (“Dr. Chen”), Dr. Alexander Kutikov (“Dr. Kutikov”), Dr. Robert S. Charles

(“Dr. Charles”), Dr. Steven J. Hirshberg (“Dr. Hirshberg”), and Dr. Yan F, Shibutani (“Dr.
Shibutani”) (collectively referred to as “Defendants”) hereby file this Motion to Quash the
additional requests of Plaintiff Rao S. Mandalapu (“Mandalapu”) under a subpoena directed to
the Accreditation Council for Graduate Medical Education (“the ACGME”).!
I. INTRODUCTION

Mandalapu alleges that Defendants failed to promote him to an advanced resident
position because of racial discrimination based on his discernable Indian accent. Defendants

believe that Mandalapu was a woefully inadequate urology resident and TUH refused to promote

 

' Defendants file this Motion to alleviate the burden on the ACGME to incur fees to formally object to the
continued requests of Mandalapu.
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him because he lacked the skills necessary to advance him to the next year in the residency
program,

To date, the parties have exchanged significant discovery and have conducted 10
depositions. Nonetheless, Mandalapu seeks additional discovery from the ACGME, a non-party
entity based in Chicago. The ACGME is an independent, not-for-profit, physician-led
organization that sets and monitors the professional educational standards essential in preparing
physicians to deliver safe, high-quality medical care. Mandalapu first sent a subpoena to the
ACGME without notice to Defendants in contravention of the federal rules. Mandalapu then
served the ACGME with a second incredibly broad and expansive subpoena seeking all
complaints against TUH, Dr. Mydlo, Dr. Greenberg, and Dr. Chen regarding “discrimination,
retaliation or harassment by any resident in any residency program conducted by Temple
University Hospital.” See Subpoena attached hereto as Exhibit 1. The subpoena contains no
time and/or scope restrictions.

The ACGME produced documents to Mandalapu regarding his own complaints.
Mandalapu then requested additional documents and information from the ACGME regarding an
alleged complaint made in 2016 — four years after Mandalapu exited the program at TUH.
Defendants object to this request as it (1) is outside the scope of this litigation; (2) requests
confidential information; and (3) constitutes a quintessential fishing expedition regarding other
residents unrelated to Mandalapu that will undoubtedly result in an unnecessary mini-trial
concerning the facts and circumstances of other residents. The documents sought have no
probative value in the instant case. For those reasons, Defendants respectfully request that their

Motion to Quash be granted in its entirety.
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Il. FACTUAL BACKGROUND

Mandalapu is an individual born in India and speaks with a discernable Indian accent.
Second Amended Complaint at J 18. In 2011, Mandalapu began his residency at TUH in the
Urology Department as a PGY-4 resident. Id. at § 26. During that term, he rotated among TUH,
Abington Hospital, and Fox Chase Cancer Center. Id. at 450. The individually named
defendants were all Urology physicians practicing at one of the three hospitals who evaluated
Mandalapu’s performance. Id. at §§ 8-15. In 2012, at the close of the academic year and at the
end of Mandalapu’s rotation, he was informed that his performance was so poor that he would
not be elevated to the PGY-5 resident position. Id. at 448. Mandalapu now asserts that this
decision was based on discrimination pursuant to 42 U.S.C. $1981 (“Section 1981”) and 42
U.S.C. §1983 (“Section 1983”).

Sometime on or around August 14, 2017, Mandalapu served a subpoena on the ACGME?
without notice to Defendants in violation of Federal Rule of Civil Procedure 45 (a)(4) requiring
parties to provide notice to all named parties prior to service of a subpoena on the non-party.
Defendants learned of the subpoena only after receiving correspondence from the ACGME’s
counsel. See August 29, 2017 Correspondence attached hereto as Exhibit “2”. Ultimately that
subpoena was withdrawn. See Correspondence from Opposing Counsel, attached hereto as
Exhibit “3”.

Mandalapu’s counsel then served another subpoena on the ACGME on or around
September 1, 2017. That subpoena requested “[a]ny and all the complaints, against the Temple
University Hospital urology residency program and/or Dr. Jack H. Mydlo, Dr. Richard E.

Greenberg, Dr. David Y.T. Chen, regarding discrimination, retaliation or harassment by any

 

* To date, Defendants have never received a copy of the original subpoena served upon the ACGME.
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resident or participant in a residency program conducted by the Temple University Hospital.”
Exhibit 1.

On September 29, 2017, Defendants received notice from the ACGME’s counsel that he
was responding to the subpoena and producing documents related to Mandalapu. See September
29, 2017 Correspondence from the ACGME attached hereto as Exhibit “4”, The ACGME also
reiterated that its objections to the withdrawn subpoena would remain applicable. Id. In that
email, counsel for the ACGME referenced a 2016 complaint against TUH. In the ACGME’s
formal objection, it reiterates the undue burden placed on it, a non-profit, to respond to the
subpoena. The ACGME also objects to the subpoena because the information sought is
confidential.

On October 25, 2017, Mandalapu made an additional request that the ACGME produce
documents related to the other complaint referenced in the ACGME’s previous correspondence.
See October 25, 2017 Correspondence attached hereto as Exhibit “5”. Thereafter, Defendants
formally joined the objections to the subpoena raised by the ACGME by stating that this
particular complaint was four years after Mandalapu’s tenure at TUH. See October 25, 2017
Correspondence attached hereto as Exhibit “6”. Mandalapu has refused to withdraw his
additional request under the subpoena, necessitating this motion.

Defendants file this Motion to Quash objecting to the production of any additional
material by the ACGME in response to Mandalapu’s subpoena.

II. LEGAL REASONING

A party may file a motion to quash a subpoena pursuant to Rule 45(c)(3)(A) when the

subpoena: “(i) fails to allow a reasonable time to comply; (ii) requires a person to comply beyond

the geographical limits specified in Rule 45(c); (iii) requires disclosure of privileged or other
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protected matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.”
Defendants have standing to quash the subpoena directed to the non-party, the ACGME, because
“it has some personal right or privilege with respect to the subject matter sought in the subpoena.
...” Saller v. QVC, Inc., No. 15-2279, 2016 U.S. Dist. LEXIS 82895 at *7 (E.D. Pa. June 24,
2016).

As an initial matter, this subpoena should be quashed because Mandalapu failed to follow
the Federal Rules.? Mandalapu failed to provide notice of the original subpoena. Defendants
were not aware of even the existence of the originally served subpoena until nearly two weeks
after it was served. But for the ACGME’s counsel disclosing and including Defendants in the
communication with Mandalapu’s counsel, Defendants would have no knowledge of the
subpoena at all.

On the merits, Mandalapu’s subpoena should be quashed because courts have set forth
limitations when seeking comparative information in discrimination cases. Seeking complaints
four years after the alleged adverse action is outside the scope and wholly overbroad.
Additionally, the information is confidential. Defendants have a protectable interest in the
confidentiality of the alleged 2016 complaint. Accordingly, Defendants respectfully request that
Mandalapu’s subpoena be limited to a relevant time period following his resignation from TUH.

1. Courts Have Crafted Specific Parameters for Disclosure and Production of
Comparative Information in Discrimination Cases

In discrimination cases, courts have been thoughtful in considering the need for the

plaintiff to not be unnecessarily restricted. Miles v. Boeing Co., 154 at 119 (E.D. Pa. March 2,

 

° In Kremsky v. Kremsky, No. 16-44742017 U.S. Dist. Lexis 103 (E.D. Pa. Jan. 3, 2017) , the Court found
that failure to provide notice to parties when serving subpoenas on 14 non-parties caused harm to the
Defendant even when the non-parties had yet to produce documents. Jd. at 7. The Court found that harm
was caused to the Defendant and to the public when attorneys fail to comply with Rule 45(a)(4). Id. at 6.

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1994), Still, discovery “must comport with the traditional notions of relevancy.” Id.
Particularly in discrimination cases, “discovery should be tailored to the issues involved in the
particular case.” Kresefsky v. Pansonic Commce’ns &Sys, Co., 169 F.R.D. 54, 64 (D. N.J. 1996).
The subpoena recipient's “status as a nonparty to the litigation should also be considered.” Lady
Liberty Transp. Co., 2007 U.S. Dist. LEXIS 14899, at *33 (citing In re Auto. Refinishing Paint
Antitrust Litig., 229 F.R.D, 482, 495 (E.D. Pa. 2005)). Indeed, “[c]ourts have imposed broader
restrictions on the scope of discovery when a non-party is targeted.” Small v. Provident Life and
Ace. Ins. Co., 1999 U.S. Dist. LEXIS 18930, *4 (E.D. Pa. Dec. 9, 1999). In the Third Circuit,
courts have strictly limited discovery to a time-frame. Clarke v. Mellon Bank, N.A., No- 92-CV-
4823, 1993 U.S. Dist. LEXIS 6680 at * 6-7 (E.D. Pa. May 11, 1993). In an attempt to balance
the Plaintiff's need for information regarding comparative treatment, courts have extended
discovery to two years after the alleged conduct. Gaul v. Zep Mfg. Co., No- 03-2439, 2004 U.S.
Dist. LEXIS 1990 at * 5-6 (E.D. Pa. Feb. 5, 2004).

In Milner v. National School of Health Technology, plaintiff brought an employment
discrimination case pursuant to 42 U.S.C. §§1981, 1983, 1985 and Title VII. 73 F.R.D. 528, 630
(E.D. Pa. Feb. 7, 1977). The court assessed the time period related to discovery served on the
defendant by the plaintiff. Jd. The discovery requested information pertaining to the period of
time from January 1970 through the present. Jd. at 631. That request would encompass a period
of under two years after the alleged adverse action. Jd. The court deemed that two years after
the alleged conduct was not burdensome and thus compelled the defendants to produce the
documents for that period of time. Jd. at 633.

Generally, Pennsylvania courts have found that approximately two years after the adverse

action is sufficient. /d.; Miles, 154 F.R.D. at 120; Clarke, 1993 U.S. Dist. LEXIS at *6-7 (E.D.
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Pa. May 11, 1993) (finding that plaintiff was permitted to obtain employee profiles from the
defendant through December 31, 1991 when plaintiff was terminated on August 31, 1990); Lewis
v. Home, Ins. Co., No- 88-4061, 1988 U.S. Dist. LEXIS 12882 at *6-7 (E.D. Pa. Nov. 17,
1988)(reasoning that the plaintiff was permitted to obtain discovery from the employer from a
period of 1983-1987 when plaintiff's termination took place on August 28, 1987, however the
Court precluded plaintiff from obtaining all claims from 1977 as it was deemed excessive).

Here Mandalapu is seeking information related to a complaint that was submitted to the
ACGME in 2016 -- nearly four years after Mandalapu’s resignation in June 2012. Permitting
Mandalapu to obtain these documents is exactly what the Third Circuit courts attempted to limit
when they reasoned that two years after the alleged adverse action was sufficient. For these
reasons, Defendants request that the Court quash the subpoena served on the ACGME and
preclude Mandalapu from receiving additional documents related to his requests.

2. Mandalapu’s Subpoena Should be Quashed Because The Subpoena is Overly
Broad and Seeks Protected Information

The scope of Rule 45 is not unlimited and is “subject to the contours of Rule 26(b)(1).”

Essex Ins. Co. v. RMJC, Inc., No. 01-4049, 2008 U.S. Dist. LEXIS 54035 at *3 (E.D Pa. July 16,
2008). The federal discovery rules do not permit parties to engage in a fishing expedition. Jd. at
*4. “Discovery need not be confined to matters of admissible evidence but may encompass that
which ‘appears reasonably calculated to lead to the discovery of admissible evidence.’” FED. R.
Civ. P, 26(b)(1); See also Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Courts
within the Third Circuit require subpoenas and discovery requests to be narrowly tailored and
often do not permit a party to obtain the “entire personnel records of all individuals without a

more particularized showing of relevance.” Miles, 154 F.R.D. at 115; Lewis v. Home Ins. Co.,
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No. 88-4061, 1988 U.S. Dist. LEXIS 12882 at *6-7 (E.D. Pa. Nov. 17, 1988); Ballard v.
Williams, No. 3:10-CV-1456, 2013 U.S. Dist. LEXIS 133508 at * 10 (M.D. Pa. Sept. 18, 2013).

Here, Mandalapu served a subpoena requesting, “[a]ny and all complaints, against the
Temple University Hospital urology residency program and/or Dr. Jack H. Mydlo, Dr. Richard
E. Greenburg, Dr. David Y.T. Chen, regarding discrimination, retaliation or harassment by any
resident or participate in a residency program conducted by Temple University Hospital.”
Exhibit 1. This request seeks all complaints for an unlimited period of time. On its face, the
subpoena is overbroad and not limited to an appropriate time-period associated with
Mandalapu’s claims ~ complaints that were made four years after Mandalapu’s tenure with the
program should not be disclosed.

Further, Mandalapu requests all discrimination complaints regardless of protected class.
He also fails to limit the request to accent-based claims. In sum, Mandalapu should not be
permitted to obtain information for claims that are completely unrelated to the facts of his case.

The subpoena also attempts to obtain information of other residents — individuals who are
not parties to the current action. Responsive documents could include private and confidential
information related to these non-parties. Mandalapu’s failure to provide notice (mentioned
above) violates the Family Education Rights and Privacy Act, 34 CFR Section 99, (“FERPA”)
that permits the release of the records of personally identifiable information pursuant to a
lawfully issued subpoena. 34 CFR §99(a)9)(ii) (emphasis added). Mandalapu’s subpoena is not
“lawful” because he failed to comply with the Federal Rules, thus, producing the requested

information would violate FERPA.
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IV. CONCLUSION

For the foregoing reasons, Defendants request that the Court quash Mandalapu’s requests

for additional documents under the subpoena served on the ACGME.

Respectfully submitted,

   
  

/ Cr} X 4 A LA

‘Michael J. Fottunato, Esquire

Jason K. Roberts, Esquire

LaTi Spence, Esquire

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Dated: November 6, 2017 (

Attorneys for Defendants
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EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania

Rao S, Mandalapu, M.D.

 

Plaintiff

v. Civil Action No. 2-15-cv-05977-JP

Temple University Hospital, Inc. et al

 

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Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Accreditation Council on Graduate Medical Education
To: Attn: Loulse King, MS, Executive Director

Residency Review Committee for Urology515 N. State St, Ste. 2000, Chicago, IL 60654
(Name of person to whom this subpoena is directed)

v4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
SEE DOCUMENT REQUEST ATTACHED HERETO.

 

Place: LaSalle Process Servers, LP Date and Time:

105 W. Madison Steet, Ste. 1306 .
Chicago, IL 60602 October 1, 2017 5:00p.m.

 

 

 

C) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

Place: Date and Time:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR

 
 

Signature of Clerk or Deputy Clerk A tlorney ’s signature”

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff, Rao S. Mandalapu, M.D. , who issues or requests this subpoena, are:

 

Mark D. Downey, 1910 Pacific Ave, Ste 15650, Dallas, TX 75201, mdowney@hakllp.com (214) 764-7279

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

 
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SCHEDULE “A”
DEFINITIONS
1. Document(s). The terms “document” or “documents” shall mean any written,

recorded, filmed, electronically stored information, or graphic matter, whether produced,
reproduced, or on paper, cards, tapes, film, electronic facsimile, computer storage devices, or any
other media, including, but not limited to, originals and all copies which are different in any way
from the original, whether by interlineation, receipt stamp, notation, indication of copies sent or
received, or otherwise, and drafts, which are in your possession, custody, or control, or in the
possession, custody, or control of its present or former agents, representatives, or attorneys, or any
and all persons acting on its behalf, including documents at any time in the possession, custody, or
control of such individuals or entities or known by you to exist. Examples include, but are not
limited to, computer disks, audiotapes, videotapes, memoranda, minutes, records, photographs,
videotapes, floppy disks, compact disks, facsimiles, correspondence, telegrams, diaries,
bookkeeping entries, financial statements, tax returns, checks, check stubs, reports, studies, charts,
graphs, statements, notebooks, handwritten notes, applications, agreements, books, pamphlets,
periodicals, appointment calendars, records and recordings of oral conversations, electronic mail,
business cards, and work papers. Without limitation of the term “control” as used above, a
document is deemed to be in your control if it has the right to secure the document or a copy
thereof from another person, or public or private entity that has actual possession thereof.

2. Mandalapu. The term “Mandalapu” refers to Plaintiff Rao S. Mandalapu, M.D.,

date of birth 04/18/1965.
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3. Temple University Hospital. The term “Temple University Hospital” refers to
Temple University Hospital, and all other affiliates, parent corporations, subsidiaries, executors,
and assigns of Temple University Hospital.

DOCUMENTS REQUESTED
l. Any and all the complaints, against the Temple University Hospital urology
residency program and/or Dr. Jack H. Mydlo, Dr. Richard E. Greenburg, Dr. David Y.T. Chen,
regarding discrimination, retaliation or harassment by any resident or participant in a residency

program conducted by Temple University Hospital.
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AO 83B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 2-15-cv-05977-JP

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

CJ I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

O I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may commiand a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(LD) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—-which may include
lost earnings and reasonable attomey’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(il) These acts may be required only as directed in the order, and the
order must. protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden,

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party,

(C) Specifying Conditions as an Alternative, In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

{B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms,

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form,

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Clainiing Privilege or Protection,

{A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
niaterial must:

(i) expressly make the claim: and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim,

(B) Information Produced, If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it, After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed, R. Civ, P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 2
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Douglas Carlson LLC
Attorney
330 North Wabash, Suite 3300
Chicago, Illinois 60611

August 29, 2017

VIA ELECTRONIC MAIL

Mr. Mark D. Downey
1910 Pacific Avenue, Suite 15650
Dallas, Texas 75201

Re: = Mandalapu v. Temple University Hospital, Inc., et al., United States District
Court for the Eastern District of Pennsylvania, Civil Action No. 2-15-cv-
05977-JP

Subpoena on Accreditation Council for Graduate Medical Education

Mr. Downey:

On or about August 14, 2017, the Accreditation Council for Graduate Medical
Education (ACGME) received at its headquarters in Chicago, Illinois (401 North Michigan
Avenue, Suite 2000), a Subpoena to Produce Documents, Information or Objects or to Permit
Inspection of Premises in a Civil Action in the above captioned matter, returnable on
September 1, 2017 at 5:00 pm at LaSalle Process Servers, LP, 105 W. Madison Street, Suite

1306, Chicago, Illinois 60602. The subpoena was issued by plaintiff in the above captioned
matter.

The subpoena is addressed to “Accreditation Council on Graduate Medical
Education, Attn: Louise King, MS, Executive Director, Residency Review Committee for
Urology, 515 N. State St., Ste. 2000, Chicago, IL 60654. According to the subpoena, the
time period is unlimited.

ACGME is not a party to the lawsuit underlying the subpoena. This letter of written
objection to the subpoena is sent to you pursuant to Rule 45(c)(2)(B), Federal Rules of Civil
Procedure.

ACGME is a not for profit corporation organized under the laws of the State of
Illinois, and it is headquartered in Chicago, Illinois. According to the ACGME 2015/2016
Data Resource Book, ACGME accredits 9,977 programs in graduate medical education in the
United States, its territories and possessions. These include the “Temple University Hospital
Program” (ACGME Program No. 4804121132) sponsored by the Lewis Katz School of
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August 29, 2017

Medicine at Temple University, the current program director of which is Jack H. Mydlo, MD,
according to information submitted to ACGME by the program.

Documents within the scope of the subpoena are

(a) documents submitted by the plaintiff to ACGME or submitted by ACGME to
plaintiff relating to complaints by plaintiff against the Temple residency program;

(b) documents internal to ACGME relating to plaintiff's complaints against the
Temple residency program (including attorney-client privileged documents);

(c) electronic case log data submitted to ACGME by plaintiff while a resident
physician in the Temple residency program;

(d) electronic case log data submitted by plaintiff to ACGME while a resident
physician in an Ohio residency program;

(e) electronic resident survey responses submitted by plaintiff (ACGME could not
identify any response as attributable to plaintiff); and

(f) an electronic record addressing the status of plaintiff in the Temple residency
program and submitted to ACGME by the Temple residency program.

1, ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden in violation of Rule 45(c)(1), particularly insofar as
the plaintiff, who issued the subpoena, or Temple University Hospital and/or Dr. Mydlo,
parties to the underlying lawsuit, likely have, or have access to, most of the same documents
in the possession of ACGME (plaintiff —- (a) above; Temple University Hospital and/or Dr.
Mydlo — (c), (d), and (f) above). See, Rules 45(c)(1) and 26(b)(2)(C), Federal Rules of Civil
Procedure. “If the material sought by subpoena is readily available... from a party to the
action, obtaining it through subpoena on a nonparty will often create undue burden.”
Moore’s Federal Practice § 45.32 (Third Ed.).

2. ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden or cost in violation of Rules 45(c)(1) and
26(6)(2)(B), particularly insofar as requested information includes electronically stored
information, on backup media or otherwise, and not reasonably accessible because of undue
burden or cost. See, Rules 45(c)(1) and 26(b)(2)(B), Federal Rules of Civil Procedure.

3. ACGME objects to the subpoena because it requests information not
admissible at trial and not reasonably calculated to lead to the discovery of admissible
evidence, in violation of Rule 26(b)(1). See, Rule 26(b)(1), Federal Rules of Civil Procedure

4, ACGME objects to the subpoena because it “requires disclosure of privileged
or other protected matter” in violation of Rule 45(c)(3)(A)(iii). ACGME maintains the
information within the scope of the subpoena as confidential, and it objects to producing
documents responsive to the subpoena and maintained as confidential because the documents
are

(a) privileged under Rule 501 of the Federal Rules of Evidence;
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August 29, 2017

(b) _ privileged under the civil and criminal non-disclosure provisions of the Illinois
peer review/quality assurance statute, 735 ILCS 5/8-2101 et seq.; Niven v. Siquiera, 109 Ill.
2d 357 (1995);

(c) privileged under the federal common law doctrine of self-critical analysis;

(d) maintained as confidential under the ACGME confidentiality policy;

(e) attorney-client privileged; and

(f) maintained as confidential under HIPAA (case logs).

See, Rule 45(c)(3)(A)(iii), Federal Rules of Civil Procedure.

Moreover, protecting these documents from disclosure promotes and facilitates the
effectiveness of residency program accreditation, which in turn improves (1) the quality of
resident physician education, (2) the quality of care rendered to patients by resident

physicians, and (3) the quality of care rendered by resident physicians upon completion of the
residency program.

Rule 501 of the Federal Rules of Evidence permits a federal court to recognize
privileges under "the principals of the common law as they may be interpreted by the courts
of the United States in light of reason and experience." The United States Supreme Court has
stated that an evidentiary privilege should not be recognized or applied unless it "promotes
sufficiently important interests to outweigh the need for probative evidence." Jaffee v.
Redmond, 518 U.S. 1 (1996), citing Trammel v. United States, 445 U.S. 40 (1980).

The recognition and application of the privilege protecting documents created and
maintained during the ACGME accreditation process would, in fact, promote sufficiently
important interests to outweigh the need for probative evidence.

Intrinsic to private accreditation is the promotion of candor within its process, which
includes constructive criticism that leads to improvement in the educational quality of a
residency program. Maintaining confidentiality within the accreditation process promotes
candor. Personnel within residency programs are more forthright and candid because they
trust (a) that the information they disclose to ACGME during the accreditation process will
be used solely within that process and will not be otherwise disclosed, and (b) that the candid
evaluation sent by ACGME to the residency program for the purpose of fostering
improvement in the program will also not be disclosed outside the process. For the same
reasons, complainants are more forthright and candid.

As a non-government entity, ACGME has no power to compel residency programs
seeking accreditation to submit complete and accurate information, but must rely on
programs that apply for accreditation to provide information willingly. Assurance of
confidentiality allows programs and others to provide sensitive and sometimes proprietary
information without fear that it will be disclosed outside the accreditation process.

Disclosure of accreditation records outside the accreditation process would have a
"chilling effect" on ACGME's ability to receive full and frank information and would
ultimately reduce confidence in the quality assurance aspect of accreditation. Lack of access
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to full information (because it is not protected and confidential) would hinder the ability of
ACGME to do its job, which is to foster the provision of physician training consistent with
national standards.

The public relies on ACGME accreditation decisions and the ability of ACGME to
make those decisions. For example,

e By law, virtually all state medical licensing agencies (a) maintain as a
condition of physician licensure the completion of one or more years in a residency program
that is accredited by ACGME, and (b) grant training licenses to resident physicians who are

participating in residency programs that are accredited by the ACGME, and who have not yet
attained full medical licensure.

@ By law, the Centers for Medicare & Medicaid Services makes Medicare

graduate medical education payments to institutions sponsoring residency programs that are
accredited by ACGME.

@ The Educational Commission for Foreign Medical Graduates is authorized by
the United States Department of State to sponsor foreign national physicians as Exchange
Visitors in ACGME accredited residency programs.

® By law, many states and other government entities require completion of one
or more years of training in a residency program that is accredited by ACGME for eligibility
to serve in government or state regulated positions, i.e. county medical examiner, etc.

@ Many professional medical certification organizations require completion of a
residency program accredited by ACGME as one qualification for certification.

® Many hospitals use the completion of all or part of a residency program
accredited by ACGME as one prerequisite to the grant of hospital privileges.

All of this evidences an overwhelming public interest in providing residency program
sponsors, complainants and ACGME with the necessary confidential context in which to
evaluate the quality of clinical training programs for our nation’s physicians.

ACGME’s confining its use and disclosure of the requested documents within its
accreditation process is intrinsic to that process and necessary to the maintenance of the
accreditation function of ACGME.

5. ACGME objects to the subpoena because compliance with the subpoena
would subject ACGME to undue burden in violation of Rule 45(c)(1), particularly insofar as,

(a) the parties to the underlying lawsuit likely have most of the same responsive
documents in the possession of ACGME;

(b) requested information includes electronically stored information, on backup
media or otherwise, and not reasonably accessible because of undue burden or cost;
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August 29, 2017

(c) requested information is privileged and confidential

(d) requested information (case logs) is maintained as confidential under HIPAA;

(e) protecting the privileged and confidential documents from disclosure
promotes and facilitates the effectiveness of residency program accreditation, which in turn
improves (i) the quality of resident physician education, (ii) the quality of care rendered to
patients by resident physicians, and (iii) the quality of care rendered by resident physicians
upon completion of the residency program;

(f) disclosure of the privileges and confidential accreditation records outside the
accreditation process would have a "chilling effect" on ACGME's ability to receive full and
frank information and would ultimately reduce confidence in the quality assurance aspect of
accreditation; and

(g) lack of access to full information (because it is not protected and confidential)
would hinder the ability of ACGME to do its job, which is to foster the provision of
physician training consistent with national standards.

See, Rules 45(c)(1) and 26(b)(2)(C), Federal Rules of Civil Procedure. See also,
Northwestern Memorial Hospital v. Ashcroft, 362 F.3d 923 (7th Cir. 2004).

6. The subpoena is issued by the plaintiff in the underlying lawsuit. ACGME
possesses documents submitted by plaintiff to ACGME and by ACGME to plaintiff. If
plaintiff does not already possess these documents, ACGME will produce these to plaintiff
and to the parties to the underlying lawsuit, as ACGME will consider plaintiffs issuance of a
subpoena as his waiver to produce these documents to the other parties to the lawsuit.

I am available to discuss this subpoena at your convenience.

Very truly yours,
Douglas Carlson

Douglas Carlson LLC
Counsel for ACGME
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EXHIBIT 3
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 23 of 32

 

HUGHES « ARRELL « KINCHEN e LLP

ATTORNEYS AT LAW
Houston Office
1221 McKINNEY, SUITE 3150 mdowney@hakilp.com
HOUSTON, TEXAS 77010
Dallas Office DIRECT PHONE; (214) 764-7279
1910 PACIFIC AVE, SUITE 15650 FACSIMILE: (713) 942-2266

DALLAS, TEXAS 75201
September 1, 2017

Via Email:
carlson@douglascarlsonlaw.com
Douglas R. Carlson

225 West Wacker Dr., Suite 3000
Chicago, IL 60606

Re: — Civil Action No. 2:15-cv-05977-JP; Rao S. Mandalapu, M.D. v. T. emple
University Hospital, Inc. et al.

Dear Mr. Carlson,

We are withdrawing the subpoena issued and served on August 11, 2017. I did not review
closely enough the requested documents and failed to notice that the request was not changed to
what it should have requested, which should have been:

“Any and all the complaints, against the Temple University Hospital urology

residency program and/or Dr. Jack H. Mydlo, Dr. Richard E. Greenburg, Dr. David

Y.T. Chen, regarding discrimination, retaliation or harassment by any resident or

participant in a residency program conducted by Temple University Hospital.”

I would like to issue a new subpoena to the ACGME to reflect this corrected request.

Yours Truly,

HUGHES ARRELL KINCHEN, LLP
Fi) +

Mark DoWney, rf

Cc: — Michael Fortunato (via email)
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 24 of 32

EXHIBIT 4
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 25 of 32

wanna n-= Original message --------

From: Doug Carlson <carlson@dougcarlsonlaw.com>

Date: 9/29/17 12:46 PM (GMT-07:00)

To: Mark Downey <mdowney@hakllp.com>

Ce: "JRoberts@rubinfortunato.com' <JRoberts@rubinfortunato.com>
Subject: Mandalapu Subpoena -

Mr. Downey,

Per our telephone discussion of Tuesday of this week, attached are ACGME001 — ACGME012 in partial
response to your subpoena.

Also per our discussion, ACGME received a complaint in 2016 from someone other than Dr.

Mandalapu. Temple University Hospital, a defendant in the underlying action, should have materials relating to
the complaint. During our discussion, I suggested that Rule 45, F.R.Civ.P. requires you to seek these materials
from Temple University Hospital before burdening a third party subpoena respondent (ACGME) with a
subpoena response. I understand that you are going to do that, and that you may or may not return to ACGME.

Although we did not discuss this, it is my understanding that objections raised by ACGME in its letter response
to your withdrawn subpoena remain applicable to the current subpoena, should you in fact return to ACGME.

Douglas Carlson
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EXHIBIT 5
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 27 of 32

Roberts, Jason K.

From: Mark Downey <mdowney@hakllp.com>
Sent: Wednesday, October 25, 2017 5:18 PM
To: Doug Carlson

Ce: Roberts, Jason K.

Subject: Re: Mandalapu Subpoena -

Mr Carlson

We are going to need to get documents regarding the other complaint against Temple from you per our
subpoena.

Please provide at your earliest convenience.

Thank you.

MARK D. DOWNEY
Board Certified in Labor & Employment Law
By the Texas Board of Legal Specialization

HUGHES ARRELL KINCHEN, LLP

Direct: (214) 764-7279
Mobile: (214) 912-6746
Firm: (713) 942-2255

wonean+ Original message --------

From: Doug Carlson <carlson@dougcarlsonlaw.com>

Date: 9/29/17 12:46 PM (GMT-07:00)

To: Mark Downey <mdowney@hakllp.com>

Cc: "JRoberts@rubinfortunato.com™ <JRoberts@rubinfortunato.com>
Subject: Mandalapu Subpoena -

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Per our telephone discussion of Tuesday of this week, attached are ACGME001 — ACGMEO12 in partial
response to your subpoena.
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 28 of 32

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Douglas Carlson
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 29 of 32

EXHIBIT 6
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 30 of 32

Roberts, Jason K.

From: Roberts, Jason K.

Sent: Wednesday, October 25, 2017 5:39 PM
To: ‘Mark Downey’; Doug Carlson

Ce: Fortunato, Michael J.

Subject: RE: Mandalapu Subpoena -

Mark —

We are going to object to the relevancy of a 2016 complaint given that Dr. Mandalapu had been out of the program for
4 years at that point. Our discovery responses covered around the time Dr. Mandalapu was at Temple,

iam available to discuss.

Jason

Jason K. Roberts | Shareholder

Office: 610-408-2056 | Mobile: 862-207-1221

10 South Leopard Road | Paoli, PA 19301
JRoberts@rubinfortunato.com | www.RubinFortunato.com

Rubin Fortunato

 

 

 

From: Mark Downey [mailto:mdowney@haklip.com]
Sent: Wednesday, October 25, 2017 5:18 PM

To: Doug Carlson <carlson@dougcarlsonlaw.com>

Cc: Roberts, Jason K. <JRoberts@rubinfortunato.com>
Subject: Re: Mandalapu Subpoena -

Mr Carlson

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Please provide at your earliest convenience.

Thank you.
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17

MarK D. DOWNEY
Board Certified in Labor & Employment Law
By the Texas Board of Legal Specialization

HUGHES ARRELL KINCHEN, LLP

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Firm: (713) 942-2255

naneoo=- Original message --------

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Date: 9/29/17 12:46 PM (GMT-07:00)

To: Mark Downey <mdowney@haklip.com>

Ce: "JRoberts@rubinfortunato.com™ <JRoberts@rubinfortunato.com>
Subject: Mandalapu Subpoena -

 

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response to your subpoena.

Page 31 of 32

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to your withdrawn subpoena remain applicable to the current subpoena, should you in fact return to ACGME.

Douglas Carlson
Case 2:15-cv-05977-JP Document 56-1 Filed 11/06/17 Page 32 of 32

CERTIFICATE OF SERVICE

I, LaTi W. Spence, Esquire, hereby certify that a true and correct copy of the foregoing

Motion to Quash was filed via the Court’s ECF system and served as follows:

Dated: November 6, 2017

Via ECF and Email
Kenneth J. Zoldan, Esquire
Zoldan Associates, LLC
Two Bala Plaza, Suite 300
Bala Cynwyd, PA 19004

Mark D. Downey, Esquire
Hughes Arrell Kinchen LLP
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Samy K. Khalil, Esquire
Hughes Arrell Kinchen LLP
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Houston, TX 77010

Attorneys for Plaintiff

 

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